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                                     UNITED STATES DISTRICT COURT
11
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
                                               OAKLAND DIVISION
13
      IN RE: SOCIAL MEDIA ADOLESCENT
      ADDICTION/PERSONAL INJURY PRODUCTS                   MDL No. 3047
14
      LIABILITY LITIGATION
15                                                         Case Nos.: 4:22-md-03047-YGR-PHK
      THIS DOCUMENT RELATES TO:
16                                                                    4:23-cv-05448-YGR
      People of the State of California, et al. v. Meta
      Platforms, Inc., et al.                                         4:23-cv-05885-YGR
17

18    State of Florida, et al. v. Meta Platforms, Inc.                      4:24-cv-00805-YGR

19    State of Montana, ex. rel. Austin Knudsen v. Meta        META DEFENDANTS’ UNOPPOSED
      Platforms, Inc.                                          ADMINISTRATIVE MOTION FOR
20                                                             LEAVE TO FILE SUPPLEMENTAL
                                                               AUTHORITY
21
                                                               Judge: Hon. Yvonne Gonzalez Rogers
22                                                             Magistrate Judge: Hon. Peter H. Kang
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             META DEFENDANTS’ UNOPPOSED ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY
           Case 4:22-md-03047-YGR            Document 882           Filed 05/22/24    Page 2 of 3



 1          Pursuant to Civil Local Rules 7-11 and 7-3(d), Meta submits this Unopposed Administrative
 2   Motion for Leave to File Supplemental Authority to bring to the Court’s attention the recent ruling of the
 3   Chancery Court of Davidson County, Tennessee in a related case, State of Tennessee ex rel. Jonathan
 4   Skremetti, Attorney General and Reporter v. Meta Platforms, Inc., Case No. 23-1364-IV. That court ruled
 5   that specified Tennessee state agencies from whom documents were sought, other than the Governor’s
 6   Office and legislature, would be subject to Rule 34 party discovery, which is relevant to the dispute
 7   pending before Magistrate Judge Kang regarding discovery into agencies and departments of the States
 8   that have brought suit here (ECF 738). Meta submits this authority via motion rather than a Statement of
 9   Recent Decision because Civil Local Rule 7-3(d) provides that Statements of Recent Decision must be
10   submitted “before the noticed hearing date.” Civ. L.R. 7-3(d)(2). The final brief on this dispute (ECF
11   738) was submitted on April 1, 2024; the Court held a hearing on the dispute on May 6, 2024; and the oral
12   ruling of the Tennessee court occurred at a hearing on May 17, 2024. That court indicated that it would
13   also issue a written order on the matter. The transcript of the Tennessee court’s oral ruling is attached as
14   Exhibit A and the court’s ruling begins on page 62.
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      DATED: May 22, 2024                                  Respectfully submitted,
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             META DEFENDANTS’ UNOPPOSED ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY
     Case 4:22-md-03047-YGR          Document 882         Filed 05/22/24     Page 3 of 3



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      META DEFENDANTS’ UNOPPOSED ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY
